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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                 Plaintiff,

     v.                              No. 1:17-cv-11008

CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and                 PUBLIC-
HOSPIRA, INC.                        REDACTED VERSION

                 Defendants.


     REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION
TO EXCLUDE CERTAIN OPINIONS OF MICHAEL BUTLER AND RICHARD LIT
            REGARDING DAMAGES AND INFRINGEMENT
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I.     INTRODUCTION

       The Court should grant Defendants’ Daubert motion regarding 35 U.S.C. § 271(f)(1),

which seeks preclude Dr. Butler and Mr. Lit from (1) opining that GE HyClone media made in

Singapore infringes under 35 U.S.C. § 271(f)(1), and (2) opining that a “substantial portion” of the

raw materials of the GE HyClone media made in Singapore are supplied from the United States.

       Janssen’s opposition brief concedes that neither Dr. Butler nor Mr. Lit will testify the GE

HyClone media made in Singapore infringes under § 271(f)(1). Dkt. 300 (Opp. Br.) at 6, 8, 9 n.3.

However, Janssen nonetheless maintains that Mr. Lit should be allowed to present a “summary”

of GE HyClone’s raw material purchasing records.

       The Court should reject Janssen’s arguments. Janssen does not contest that Mr. Lit’s

summary is nothing more than simple counting and simple arithmetic. Janssen should not be

allowed to add an “expert sheen on matters well within the jury’s own ordinary experience and

common sense.” U.S. ex rel. Dyer v. Raytheon Co., No. 08–10341, 2013 WL 5348571, at *12 (D.

Mass. Sept. 23, 2013). This alone should be enough to grant Defendants’ motion.

       Further, Janssen cites no rules or cases which permit Mr. Lit to offer this testimony. Fed.

R. Evid. 1006, on which Janssen relies, does not make Mr. Lit’s opinion admissible. A “summary”

remains “subject to the usual objections under the rules of evidence,” United States v. Milkiewicz,

470 F.3d 390, 396 (1st Cir. 2006), and neither Mr. Lit’s testimony nor Janssen’s chart are

admissible under Fed. R. Evid. 702.

       Finally, Janssen argues Mr. Lit’s analysis and Janssen’s chart are the product of Mr. Lit’s

specialized “experience and knowledge.” But Mr. Lit admitted that he did not apply his specialized

knowledge in developing his opinions or analysis on this issue. The “experience” and “knowledge”

Janssen identifies is from a different field then the data he purports to interpret.
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       Consequently the Court should grant Defendants’ motion to exclude Dr. Butler’s and Mr.

Lit’s testimony relating to § 271(f)(1).

II.    ARGUMENT

       A.      Janssen concedes that neither Dr. Butler nor Mr. Lit will opine that the
               accused products infringe the ’083 patent under § 271(f).

       Janssen concedes that neither Dr. Butler nor Mr. Lit will testify that the accused GE

HyClone media made in Singapore infringes the ’083 patent. Dkt. 300 (Opp. Br.) at 5–6. Janssen

nonetheless argues that Defendants’ “motion should be denied in its entirety.” Id. at 1. This is

absurd. With no dispute over the relief Defendants seek, the Court should grant Defendants’

motion. See, e.g., United States v. Lynch, No. 2:12-CR-00105-BLW, 2012 WL 3731821, at *1 (D.

Idaho Aug. 28, 2012) (granting motion in limine where opposing party “either does not dispute, or

does not intend to offer evidence” moving party sought to exclude).

       Although Janssen concedes defeat in under two paragraphs, it rambles on for three more

pages about irrelevant issues. In doing so, Janssen makes two inaccurate claims requiring a

response. First, Janssen inaccurately identifies the elements of infringement under § 271(f)(1).

Dkt. 300 (Opp. Br.) at 6; see also Dkt. 244 (Br.) at 1–2 (accurately stating the elements of §

271(f)(1)). Section 271(f)(1) includes an “active[] induce[ment]” requirement. 35 U.S.C. §

271(f)(1). Janssen recites § 271(f)(1)’s “elements” to suggest that it need only prove Defendants

“actively induce[d] the combination of such components outside of the United States.” In reality,

Janssen must prove that Defendants “actively induce[d] the combination of such components

outside of the United States in a manner that would infringe the patent if such combination

occurred within the United States,” i.e., that Defendants intended the components be combined

and that the combination infringes the ’083 patent. Id. (emphasis added); see also Zoltek Corp. v.

United States, 672 F.3d 1309, 1334 n.6 (Fed. Cir. 2012) (Dyk, J., dissenting) (noting that the text



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of § 271(f)(1) mimics the language of § 271(b) and the text of § 271(f)(2) mimics the language of

§ 271(c)); Federal Circuit Bar Association Model Patent Jury Instructions B.3.4 (“(3) [alleged

infringer] knows of the [ ] patent, and knows that the encouraged acts constitute infringement of

that patent;”).

        Second, Janssen suggests that Mr. Lit will provide testimony to “aid the jury in determining

whether” Janssen has proved infringement under § 271(f)(1). Dkt. 300 (Opp. Br.) at 8–9. But the

purported testimony Janssen identifies,

has nothing to do with whether the accused GE HyClone media actually meets the statutory

elements. Dkt. 300 (Opp. Br.) at 6–7.




                                                                                    Ex. 1 (Lit Dep.

Tr.) at 390:23–391:6. And as Defendants have explained, the Court should not permit Mr. Lit to

offer his “substantial portion” opinion—a position Janssen has accepted.

        Regardless, Court should grant Defendants motion because Janssen has agreed to provide

Defendants the relief sought by their Daubert motion: neither Dr. Butler nor Dr. Lit will testify

that the media GE HyClone manufactures in Singapore infringes the ’083 patent under § 271(f)(1).




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       B.      Janssen concedes that Dr. Butler and Mr. Lit will not testify on the
               “substantial portion” prong of § 271(f), and the Court should preclude them
               from offering the same opinion through Janssen’s charts.

       Janssen concedes that neither Dr. Butler nor Mr. Lit will opine that ingredients exported

from the United States to Singapore

                         Dkt. 300 (Opp. Br.) at 8, 9 n.3. Nonetheless, Janssen argues that Mr. Lit

should be permitted to offer his “substantial portion” opinion

                                                                                as long as he does

not use the word “substantial.” Id.

       The Court should reject Janssen’s argument. As Defendants’ motion explained, Mr. Lit’s

“analysis” and Janssen’s chart are not “helpful” (and thus not admissible) because they have no

“valid scientific connection to the pertinent inquiry.” Dkt. 244 (Br.) at 7–9 (quoting Daubert v.

Merrell Dow Pharm., Inc., 509 U.S. 579, 591–92 (1993)). Janssen’s strategy is to place an “expert

sheen on matters well within the jury’s own ordinary experience and common sense,” Dyer, 2013

WL 5348571, at *12, which Courts agree is improper and prejudicial. United States v. Pires, 642

F.3d 1, 12 (1st Cir. 2011).

       Indeed, Janssen does not dispute most of the facts that show Mr. Lit’s “substantial portion”

opinion and Janssen’s chart contain no expert analysis. For example, Janssen does not challenge

that Mr. Lit’s analysis is merely                                                        Ex. 1 (Lit

Dep. Tr.) at 159:20–160:18. Likewise, Janssen does not dispute that Mr. Lit performed no



              Id. at 158:14–17. The jury, as the trier of fact, “has no need for an opinion because

it easily can be derived from common sense, common experience, the [trier of fact’s] own

perceptions, or simple logic.” Dyer, 2013 WL 5348571, at *12; see also Dkt. 244 (Br.) at 7–8.




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       Janssen makes three arguments for allowing Mr. Lit to offer his “substantial portion”

analysis. The Court should reject them all. First, Janssen argues that Mr. Lit’s “analysis” and

Janssen’s chart are admissible as a “summary of                      that forms the basis for one of

[Mr. Lit’s] opinions.” Dkt. 300 (Opp. Br.) at 10. Specifically, according to Janssen, Mr. Lit’s chart

and calculations are “Rule 1006 summar[ies] that under Rule 703 can be properly presented to the

jury by an expert.” Dkt. 300 (Opp. Br.) at 10–11. But Rule 1006 does not allow Janssen to use Mr.

Lit as a mouthpiece to place an “expert sheen” on non-expert testimony, such as basic arithmetic

and counting. Dyer, 2013 WL 5348571, at *12.

       “Evidence admitted under Rule 1006 must be otherwise admissible and remains subject to

the usual objections under the rules of evidence.” United States v. Milkiewicz, 470 F.3d 390, 396

(1st Cir. 2006). For expert testimony, “[t]he touchstone for the admission . . . is Federal Rule of

Evidence 702.” Crowe v. Marchand, 506 F.3d 13, 17 (1st Cir. 2007).

       Rule 702 provides no basis for Mr. Lit to offer opinions regarding the chart. The only

opinion in Mr. Lit’s report on which the chart bears is his “substantial portion” opinion, which

Defendants have shown is not proper expert testimony and should be excluded. Dkt. 244 (Br.) at

7–9.

       Janssen suggests that Mr. Lit may address Janssen’s chart in connection with his so-called

                                     Dkt. 300 (Opp. Br.) at 7, 10. Although it does not say how,

Janssen claims “this summary forms the basis for [Mr. Lit’s] opinion on                   , which is

relevant to determining whether Defendants infringed the ’083 patent under § 271(f)(1).” Id. at 13.

Janssen’s chart has no relevance to Mr. Lit’s                           . The chart purports to show




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          In short, the chart’s only plausible relevance to infringement relates to the “substantial

portion” prong, and Mr. Lit’s analysis on that issue is not proper expert testimony. Dkt. 244 (Br.)

at 6–9.

          The cases Janssen cites do not show otherwise. Most have nothing to with admissibility

challenges to an expert presenting a summary to a jury. United States v. Rafferty, 296 F. App’x

788, 793–94 (11th Cir. 2008), and SEC v. Seghers, 298 F. App’x 319, 326 (5th Cir. 2008), both

involved summary charts properly admitted through non-expert witnesses. Christian Bros. High

Sch. Endowment v. Bayou No Leverage Fund, LLC (In re Bayou Grp., LLC)), 439 B.R. 284, 336-

37 (S.D.N.Y. 2010), addressed the propriety of a bankruptcy judge considering an expert report

and summary chart in granting summary judgment. And Barry v. Medtronic, Inc., 230 F. Supp. 3d

630 (E.D. Tex. 2017), addresses 271(f)(1), not admissibility of a summary chart—indeed, there is

no indication that the expert’s “schedule” was a summary chart or was subject to an admissibility

challenge.

          Janssen’s final case, United States v. Milkiewicz, relates to admissibility of a “chart” that

“was ‘not, strictly speaking, a summary of documents’” because it “involved a kind of expert

interpretation.” 470 F.3d at 400. In Milkiewicz, an IRS agent presented an exhibit that (1)

“summarize[d] [] financial information contained in [] charts,” (2) “compare[d] the figures

appellant reported on his tax returns . . . with the data developed in the investigation,” and (3)

“calculate[d] for each of the five years, the additional tax due based on the information compiled

in the chart[s].” Id. at 394, 401. The First Circuit noted that the chart’s content (“tax computations”)

was within the witness’s particular expertise: “An IRS agent, is qualified to express an opinion on

the tax consequences of a transaction.” Id. at 401. Janssen’s chart, on the other hand,




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                                                                                                  And

Milkiewicz provides no support to Janssen’s claim that “where the creation of a summary of

‘routine . . . records’ required ‘patience but not expertise,’ the expert may properly present the

summary to the jury, regardless of whether they applied their expertise in creating it, and regardless

of their qualifications.” Dkt. 300 (Opp. Br.) at 12–13.

       Second, Janssen argues that Mr. Lit “was able to apply [his] experience and knowledge in

summarizing                                     and to “vouchsafe for the reliability of his analysis.”

Dkt. 300 (Opp. Br.) at 12. But again, Janssen’s argument fails. Contrary to Janssen’s argument,

Mr. Lit did not “apply [his] experience and knowledge” either “in summarizing

                or to “vouchsafe for the reliability of his analysis.” Id. Mr. Lit admitted that it did

not

                                                          Dkt. 244-2 (Lit Dep. Tr.) at 157:19–158:3.

He also admitted that he is not

                                    Dkt. 244-2 (Lit Dep. Tr.) at. 160:23–25.

       This is no surprise. The “experience” and “knowledge” Janssen claims Mr. Lit has relates

to “biologic drug manufacturing processes,” “biopharmaceutical manufacturing,” and

                        Dkt. 300 (Opp. Br.) at 12. But GE HyClone is not a

               and does not engage in “biopharmaceutical manufacturing.” And the accused GE

HyClone media is not a “biologic drug.” Mr. Lit has never been involved in




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                                                                             Janssen has no basis to

suggest that Janssen’s chart has anything to do with Mr. Lit’s expertise.1

       The cases Janssen cites on this issue are inapposite. Unlike the expert in United States v.

Albertelli, 687 F.3d 439, 446 (1st Cir. 2012), Mr. Lit is not applying an “independent body of

specialized knowledge” to “interpret” the evidence. Likewise, Zachar v. Lee, 363 F.3d 70, 76 (1st

Cir. 2004), says “an expert must vouchsafe the reliability of the data on which he relies and explain

how the cumulation of that data was consistent with standards of the expert’s profession.” But,

Mr. Lit has no basis to vouchsafe

          and does not claim to have done so.

       As to Dr. Butler, Janssen argues that “Janssen intends to present [Janssen’s chart] through

Mr. Lit” but Dr. Butler “could properly rely on this summary and testify about it at trial, were he

asked to do so.” Dkt. 300 (Opp. Br.) at 9 & n.3. Defendants’ Daubert motion explained that Dr.

Butler performed no analysis of his own but adopted Mr. Lit’s opinions wholesale. Dkt. 244 (Br.)

at 9–11. While Janssen denies this, it offers no evidence that Dr. Butler “did not simply adopt Mr.

Lit’s analysis wholesale without examining it.” Dkt. 300 (Opp. Br.) at 9 n.3. Moreover, Janssen

does not address Dr. Butler’s wholesale, word-for-word copying from Mr. Lit’s supplemental

report. See Dkt. 244 (Br.) at 10–11. Because an expert witness cannot properly adopt another



1
       Janssen suggests that Mr. Lit “creat[ed]” the chart at issue. Opp. Br. at 11. This is wholly
improper.
                                                                   Having refused to disclose this
information at Mr. Lit’s deposition, Janssen should not be permitted to proffer or suggest an answer
now. See, e.g., Wasserstrom v. J.M. Appelson, No. 87-0277-CV, 1988 WL 878409, at *3 (W.D.
Mo. Nov. 15, 1988) (“Certainly plaintiff will be restrained from using information which he
refused to disclose during discovery.”). And the evidence suggests he did not.




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expert’s opinions wholesale, the Court should also grant Defendants’ motion as to Dr. Butler. Burst

v. Shell Oil Co., 120 F. Supp. 3d 547, 544 (E.D. La. 2015).

III.   CONCLUSION

       The Court should grant Defendants motion because Janssen concedes that neither Dr.

Butler nor Mr. Lit will testify (1) that media GE HyClone manufactures in Singapore infringes the

’083 patent under § 271(f)(1) or (2) that “all or a substantial portion” of the components are

supplied from the United States.




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Dated: May 4, 2018                 Respectfully submitted,

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